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1    RANDY SUE POLLOCK                                                       **E-filed 5/10/06**
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4
     Attorney for Defendant
5    XIAO FENG SHEN
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9                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN JOSE DIVISION
12                                                ooo
13
      UNITED STATES OF AMERICA,                       CASE NO. 05-00 715 JF
14
                    Plaintiff,
15
      vs.
16                                                    STIPULATION TO CONTINUE
                                                      SENTENCING
17    XIAO FE NG SHEN,

18                  Defendant.

19                                                /

20          Defendant XIAO FENG SHEN, by and through her counsel of record Randy Sue
21   Pollock, and Assistant United States Attorney Edw ard Torpoco hereby stipulate and agree to
22   continue the date for sentencing in this matter from the presently set date of Wednesday,
23   May 3, 2006, at 9 a.m. to May 24, 2006, at 9a.m.
24   ///
25   ///
26   ///
27   ///
28   ///
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1    This continuance is to meet the convenience of defense counsel who has a conflict with her
2    schedule on May 3.
3    Assistant U.S. Attorney Torpoco has authorized his signature to this stipulation.
4
5    Date: May1, 2006                                   (S) Randy Sue Pollock
                                                        Randy Sue Pollock
6                                                       Counsel for Defendant
                                                        XIAO FENG SHEN
7
8
9    Date: May1, 2006                                   (S) Edward Torpoco
                                                        Edward Torpoco
10                                                      Assistant U.S. Attorney
11
12
     SO ORDERED:
13
     Date:   5/10/06
14                                                      U.S. District Court Judge
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